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     AMERICAN STANDARD BRANDS
13
                               UNITED STATES DISTRICT COURT
14
                             NORTHERN DISTRICT OF CALIFORNIA
15
     ROBERT WEISS, individually and on           Case No. 3:21-cv-06354-JCS
16   behalf of all others similarly situated,
                                                 FURTHER CASE MANAGEMENT
17                          Plaintiff,           CONFERENCE STATEMENT AND NOTICE
                                                 OF SETTLEMENT
18          vs.
                                                 Date:    June 17, 2022
19   AS AMERICA, INC. d/b/a AMERICAN             Time:    2:00 p.m.
     STANDARD BRANDS, a Delaware                 Judge:   Hon. Joseph C. Spero
20   corporation,                                Place:   Via Zoom webinar
21                                  Defendant.
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                                                                      FURTHER CASE MANAGEMENT
                                                  1                      CONFERENCE STATEMENT
                                                                       AND NOTICE OF SETTLEMENT

                                                                                   4875-4645-1482.v2
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 1          Pursuant to the Court’s Order dated January 18, 2022 [Dkt. 27] and the Clerk’s May 6,
 2   2022 Notice Continuing Further Case Management Conference and Setting Zoom Hearing [Dkt.
 3   31], Plaintiff Robert Weiss and Defendant AS America, Inc. d/b/a American Standard Brands
 4   respectfully provide this Updated Case Management Statement.
 5          Since the parties filed their Further Case Management Conference Statement [Dkt. 30] on
 6   May 5, 2022, the parties have now agreed upon the terms of Settlement Agreement, thereby
 7   concluding this litigation on an individual basis. The parties intend to promptly file a Joint
 8   Stipulation of Dismissal With Prejudice prior to the end of June 2022.
 9          While the parties are available to appear at the Further Case Management Conference
10   scheduled for June 17, 2022, the parties suggest the Court instead continue the Further Case
11   Management Conference until mid-July 2022 in expectation of the anticipated filing of the Joint
12   Stipulation of Dismissal with Prejudice.
13

14   Dated: June 1, 2022                                   Respectfully submitted,
15                                                         FINKELSTEIN & KRINSK LLP
16                                                              /s/ Jeffrey R. Krinsk
                                                           JEFFREY R. KRINSK,
17                                                         Attorneys for Plaintiff ROBERT WEISS and
                                                           the Putative Class
18

19                                                         PILLSBURY WINTHROP SHAW
                                                           PITTMAN LLP
20
                                                                /s/ Mark D. Litvack
21                                                         MARK D. LITVACK,
                                                           Attorneys for Defendant AS AMERICA, INC.
22                                                         d/b/a AMERICAN STANDARD BRANDS

23                           ATTESTATION OF E-FILED SIGNATURE

24          Pursuant to Local Rule 5-1(i)(3), I, Mark D. Litvack, attest that the above signatories

25   have read and approved the foregoing and consent to its filing in this action.

26                                                           /s/ Mark D. Litvack
                                                             Mark D. Litvack
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                                                                            FURTHER CASE MANAGEMENT
                                                       2                       CONFERENCE STATEMENT
                                                                             AND NOTICE OF SETTLEMENT

                                                                                            4875-4645-1482.v2
